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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

 STATE OF NEW YORK, et al.,

       Plaintiffs,
                                                   Civil Action No. 1:25-cv-11221-WGY
v.

 DONALD J. TRUMP, in his official capacity         CERTIFICATION OF THE
 as President of the United States, et al.,        ADMINISTRATIVE RECORDS

       Defendants,




       1.      I, Samuel D. Rauch, III, am employed by the National Marine Fisheries Service

(“NMFS”) as the Deputy Assistant Administrator for Regulatory Programs at NMFS, an agency

of the National Oceanic and Atmospheric Administration (NOAA) with the U.S. Department of

Commerce (“DOC”). My office is located in Silver Spring, Maryland.

       2.      As part of my official duties, I provided oversight of NMFS’ efforts in compiling

the administrative record for its implementation of Presidential Memorandum, Temporary

Withdrawal of All Areas on the Outer Continental Shelf from Offshore Wind Leasing and Review

of the Federal Government’s Leasing and Permitting Practices for Wind Projects (90 Fed. Reg.

8363, Jan. 29, 2025) (“Wind Memo”).

       3.      I certify under penalty of perjury that the foregoing is true and correct.

       4.      I understand it is the position of the United States that NMFS’ temporary cessation

of wind energy approvals and other authorizations pursuant to the directive in Section 2(a) of the

President’s Wind Memorandum is not final agency action subject to challenge under the

Administrative Procedure Act. This certification is provided without waiving any such argument.
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       5.         Despite the United States’ position, the Court has ordered the filing of an

administrative record for NMFS’ temporary cessation of wind energy approvals and other

authorizations.

       6.         I hereby certify to the best of my knowledge, information, and belief that the

document listed on the attached index constitutes a true, correct, and complete copy of NMFS’

administrative record that the Court ordered be produced and that no other documents constituting

evidence considered, either directly or indirectly, by NMFS exists.



Executed on: July 10, 2025


                                 RAUCH.SAMUEL.DEA Digitally signed by
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                                 N.1365850948     Date: 2025.07.10 13:29:17 -04'00'
                                ______________________________________________
                                Samuel D. Rauch, III
                                Deputy Assistant Administrator for Regulatory Programs
                                National Marine Fisheries Service




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